    Case: 1:17-cr-00173 Document #: 760 Filed: 11/30/21 Page 1 of 2 PageID #:4841




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

UNITED STATES OF AMERICA                      )
                                              )
                V.                            )       No. 17CR-143-01
                                              )
ANTHONY WILLIAMS                              )

                        DEFENDANT WILLIAMS STATUS REPORT

         DEFENDANT ANTHONY WILLIAMS, through counsel, respectfully provides the

following status report as directed by the Court, in support thereof, state as follow:

         The Defendant’s sentencing hearing is presently scheduled for January 21, 2022.    The

Defendant and Government expect that there will be testimony concerning two issues: The

weight of substances and the use of a residence to further the scheme. Counsel is aware that the

agent has testified in the Demetrius Yancy case and Counsel may be willing to stipulate to the

testimony in order to avoid r4epetitive testimony.

         Counsel has prepared a sentencing memorandum that will include numerous letters of

support from family and friends. Those letters are in Counsel’s possession but have yet to be

filed.

         That Counsel received a call today from Mr. Williams from the MCC but the call was

disconnected and Mr. Williams did not call back.

         Counsel’s travel schedule over the past few weeks included multiple days of business

travel to Oklahoma City, New York City, Nevada and Mobile, AL and there was the long

Thanksgiving break.

         I am now advised by the ECF System that Mr. Williams has filed a Motion to terminate

my services as his attorney.
   Case: 1:17-cr-00173 Document #: 760 Filed: 11/30/21 Page 2 of 2 PageID #:4842




       WHEREFORE, counsel for ANTHONY WILLIAMS, provides the Court with the Status

Report on the case.




DATE: November 30, 2021                              Respectfully submitted,



                                                     S/MICHAEL D. WALSH
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                                                     Chicago, IL 60606
                                                     312-283-0474
                                                     Michaelwalsh@dcklawfirm.com


                                         CERTIFICATE

       The undersigned, MICHAEL WALSH, the attorney certifies that he has read the
foregoing Motion and the contents contained therein are true and correct to the best of his
knowledge and belief.

                                                     S/MICHAEL D. WALSH




                                  CERTIFICATE OF FILING

        The undersigned certifies that the foregoing Motion to Continue has been filed with the
ECF System for the Northern District of Illinois and copies of said Motion have been delivered
to the parties through the electronic filing and notice system for the Northern District of Illinois
on November 30, 2021

                                                     S/MICHAEL D. WALSH
